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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                       Criminal No. 14-344 (1) (JRT/FLN)

                                 Plaintiff,
                                                 MEMORANDUM OPINION
                                                AND ORDER ON REPORT AND
v.
                                                  RECOMMENDATION OF
                                                   MAGISTRATE JUDGE
SIENEMAH TERRANCE GAYE,

                              Defendant.

      Lola Velazquez-Aguilu and Amber M. Brennan, Assistant United States
      Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
      States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
      plaintiff.

      John C. Brink, ATTORNEY AT LAW, 310 Fourth Avenue South, Suite
      1008, Minneapolis, MN 55415, for defendant.


      On October 21, 2014, Defendant Sienemah Gaye (“Gaye”) was indicted by a

grand jury for twenty counts of bank fraud, one count of aggravated identity theft, and

one count of conspiracy to commit bank fraud, all in violation of 18 U.S.C. §§ 2, 1028A,

1344, 1349. (Indictment ¶¶ 13-25, Oct. 21, 2014, Docket No. 1.) The indictment alleges

that Gaye was a member of a counterfeit check operation, acting as one of the

manufacturers of the counterfeit checks. (Id. ¶¶ 3-12.)

      On June 11, 2015, United States Magistrate Judge Franklin L. Noel issued a

Report and Recommendation (“R&R”) on various pretrial motions. (R&R, June 11,

2015, Docket No. 629.) In particular, the R&R recommended granting Gaye’s motion to

suppress certain statements that he made to police, but also recommended denying six


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other motions filed by Gaye to suppress evidence. These motions stemmed in part from

the execution of various search warrants and the seizure of assorted evidence on

September 11, 2013. Before the Court are Gaye’s objections to the R&R. (Objections to

R&R (“Objections”), July 9, 2015, Docket No. 659.) Because probable cause or the

good-faith exception to the exclusionary rule supports each of the search warrants Gaye

challenges, the Court will deny his motions to suppress various searches. Moreover,

because the identification methods used by law enforcement were not impermissibly

suggestive or did not create a substantial risk of misidentification, the Court will deny

Gaye’s motion to suppress identification evidence. The Court will deny Gaye’s other

suppression motions as moot.


                                    DISCUSSION

I.    STANDARD OF REVIEW

      Upon the filing of a report and recommendation by a magistrate judge, a party

may “serve and file specific written objections to the proposed findings and

recommendations.” Fed. R. Civ. P. 72(b)(2); accord D. Minn. LR 72.2(b). “The district

judge must determine de novo any part of the magistrate judge’s disposition that has been

properly objected to.” Fed. R. Civ. P. 72(b)(3). “The objections should specify the

portions of the magistrate judge’s report and recommendation to which objections are

made and provide a basis for those objections.” Mayer v. Walvatne, No. 07-1958, 2008

WL 4527774, at *2 (D. Minn. Sept. 28, 2008). Objections which are not specific but

merely repeat arguments presented to and considered by a magistrate judge are not



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entitled to de novo review, but rather are reviewed for clear error. See, e.g., Martinez v.

Astrue, No. 10-5863, 2011 WL 4974445, at *3 (E.D. Pa. Oct. 19, 2011) (citing cases

from numerous other jurisdictions); Fed. R. Civ. P. 72 advisory committee’s note,

subd. (b) (“When no timely objection is filed, the court need only satisfy itself that there

is no clear error on the face of the record in order to accept the recommendation.”).


II.    GAYE’S OBJECTIONS TO THE REPORT AND RECOMMENDATION1

       A.     Motion to Suppress Evidence from Searches and Seizures (Docket
              No. 400)

       In his motion to suppress search and seizure evidence, Gaye argues that evidence

derived from searches and seizures of his person and property on September 11, 2013

       1
         The R&R noted that, in addition to the suppression motions analyzed in the R&R, Gaye
had also filed motions to suppress electronic surveillance, (Mot. to Suppress Wire Interceptions,
Electronic Surveillance, & Other Evidence, May 16, 2015, Docket No. 398), fruits of warrantless
garbage searches, (Mot. to Suppress Fruits of Warrantless Garbage Searches, May 16, 2015,
Docket No. 401), and camera surveillance, (Mot. to Suppress Fruits of Warrantless Camera
Surveillance at Def.’s Residence, May 16, 2015, Docket No. 402). (R&R at 3 n.4.) The R&R
also stated that at the hearing on the motions, “Gaye’s counsel informed the Court that such
motions were either moot or withdrawn.” (Id.; see also Tr. of Pretrial Mots. Hr’g at 92-93,
May 1, 2015, Docket No. 585.) Accordingly, the R&R recommended that the Court dismiss the
motions. (Id. at 3 n.4, 35.)

        The attorney who indicated that those three motions were either moot or withdrawn has
since withdrawn from representing Gaye. (Order for Appointment of Substitute Counsel,
May 27, 2015, Docket No. 619.) Gaye now has a new attorney. (Id.) In the conclusion to his
objections, Gaye now appears to reverse course, stating that he objects to the recommended
denial of these three motions. Gaye does not explain, however, why the Court should ignore his
earlier decision to withdraw all three motions. Nor does he provide any additional support,
either factual or legal, for why the Court should grant these motions. While the Court
understands that a new attorney might have a different perspective on these issues than a
previous attorney, it will not conclude that the Magistrate Judge’s recommendation is erroneous
without some argument or explanation. Indeed, given that non-specific or generic objections
only warrant clear error review of the Magistrate Judge’s R&R, see, e.g., Walker v. Vaughan,
216 F. Supp. 2d 290, 292 (S.D.N.Y. 2002), Gaye has not shown that the R&R was clearly
erroneous. In sum, the Court will overrule Gaye’s objections to the R&R’s recommendations as
to these three motions and will consequently deny each of them.


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should be suppressed under the exclusionary rule, because law enforcement officials

lacked probable cause to support the search warrants that authorized the searches and

seizures. (Mot. to Suppress Search & Seizure Evidence, Mar. 16, 2014, Docket No. 400.)

Gaye now objects to the R&R’s recommendation to deny this suppression motion.

(Objections at 1-2.)

        The exclusionary rule prohibits the prosecution from using evidence obtained in

violation of the Fourth Amendment’s protection against unreasonable searches and

seizures.   See United States v. Calandra, 414 U.S. 338, 347 (1974).         “The Fourth

Amendment requires a showing of probable cause before a search warrant may be

issued.” United States v. Williams, 477 F.3d 554, 557 (8th Cir. 2007). In other words, the

evidence may be excluded (i.e., suppressed) if it was obtained without probable cause

(i.e., the warrant authorizing a search or seizure was not supported by probable cause).

Illinois v. Gates, 462 U.S. 213, 217 (1983); see also Fed. R. Crim. P. 41(d)(1). To

establish probable cause, a search warrant affidavit must allow for a “practical, common

sense” determination that there is a “fair probability” that contraband or similar evidence

will be found at the targeted location. Gates, 462 U.S. at 238. Where the affidavit is

based on information provided by an informant, “the informant’s reliability, veracity, and

basis of knowledge are relevant considerations – but not independent, essential elements

– in finding probable cause.” United States v. Reivich, 793 F.2d 957, 959 (8th Cir. 1986).

        Even when probable cause does not support a warrant application, the Court may

still deny a suppression motion based on the good-faith exception to the exclusionary

rule.   The good-faith exception prevents suppression of otherwise illegally obtained


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evidence where officers “reasonably rel[ied] on a warrant issued by a detached and

neutral magistrate,” which “leads to the conclusion that such evidence should be

admissible in the prosecution’s case in chief.” United States v. Leon, 468 U.S. 897, 913

(1984). An officer may not reasonably rely on a warrant in the following four situations:

        (1) the officer included information in the affidavit [that] he knew was
       false or would have known was false except for his reckless disregard of
       the truth; (2) the affidavit is so lacking in probable cause that it is
       objectively unreasonable for the officer to rely on it; (3) the judge failed to
       act in a neutral and detached manner; or (4) the warrant is so facially
       deficient that the officer cannot reasonably presume the warrant to be valid.

United States v. Phillips, 88 F.3d 582, 586 (8th Cir. 1996) (internal quotation marks

omitted).

       Specifically, Gaye objects to the R&R’s recommendation to deny his motion to

suppress evidence stemming from searches of his 2003 Pontiac Grand Prix, 1993

Chevrolet Tahoe, residence, person and belongings, and iPhone. (Objections at 1-2.)

Gaye argues that these searches were unlawful because probable cause does not support

the warrant applications. Gaye also claims that the warrants are so facially deficient that

it was objectively unreasonable for the officers executing the warrants to rely on them.

       First, Gaye offers only conclusory and generic objections to the R&R’s

recommendation as to this suppression motion; as a result, the Court need only apply

clear error review. (Objections at 1); see, e.g., Walker v. Vaughan, 216 F. Supp. 2d 290,

292 (S.D.N.Y. 2002). However, even under de novo review, the Court concludes that the

warrants at issue were supported by probable cause or, at a minimum, benefit from the

good-faith exception.



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      In its warrant applications for each of the warrants listed above, the government

submitted the same sworn affidavit of United States Secret Service Special Agent Ryan

Arnold. (See, e.g., Government Ex. 1 (“Arnold Aff.”) at SW_559-13_DOC_00000027-

sw_559-13_DOC_00000073.)         The affidavit asserts, among other things, that the

Minnesota Financial Crimes Task Force (“MNFCTF”) interviewed a target of a bank

fraud investigation in September 2010, during which the interviewee revealed to law

enforcement officials that Gaye was manufacturing counterfeit checks and distributing

them to others within a fraud network.        (Id. ¶ 8.)   The MNFCTF subsequently

interviewed other informants, who similarly reported that Gaye was a key manufacturer

in a counterfeit check scheme being carried out in the Minneapolis and St. Paul

metropolitan area. (Id. ¶ 10.) In addition to the statements made to investigators by

informants, members of the MNFCTF recovered trash from Gaye’s residence which

contained discarded checks in the midst of mail addressed to Gaye.           (Id. ¶ 11.)

Investigators also conducted surveillance of Gaye’s residence in Anoka, Minnesota,

where they observed members of the alleged conspiracy coming and going. (Id. ¶¶ 13,

17, 18, 21, 28.) Gaye was additionally surveilled moving a printer and laptop computer

bag to various locations. (Id. ¶ 13.) MNFCTF agents also routinely observed the 1993

Tahoe and 2003 Grand Prix at Gaye’s residence, discovering they were registered to his

girlfriend. (Id. ¶¶ 28, 36, 37.) The agents observed those vehicles being used by Gaye in

the course of the conspiracy. (Id.) Indeed, the MNFCTF observed Gaye committing

bank fraud in the 1993 Tahoe. (Id. ¶ 36.) The Court finds that these facts, along with

others asserted in Special Agent Arnold’s affidavit – which were the product of a lengthy


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and thorough investigation of Gaye’s activities spanning multiple years – sufficiently

establish probable cause to support the warrants for Gaye’s vehicles, residence, and

person executed on September 11, 2013.

       As for Gaye’s iPhone, the government also submitted an additional sworn affidavit

from Special Agent Arnold explaining why the additional search warrant was necessary

to examine the contents of Gaye’s cellular phone. (Government Ex. 5 (“Supplemental

Arnold Aff.”) at SW_219_00000004-SW_219_00000018.) The affidavit asserts that

previously obtained electronic devices belonging to different members of the alleged

conspiracy included evidence of the fraud conspiracy. (Id. ¶ 11.) Additionally, those

phones contained contact information of different members of the ongoing check fraud

investigation, which are relevant to the investigation. (Id. ¶¶ 11-14.) The affidavit also

asserts that observations made throughout the investigation make it very likely that his

iPhone was used to contact other members of the conspiracy, and would likely contain

evidence relevant to criminal activity. (Id.) Finally, the affidavit details that the iPhone

was seized from a car that was tied to the conspiracy and had been searched pursuant to a

valid search warrant. (Id. ¶ 20.) Based on these facts, and the remainder of the affidavit

and warrant application, the Court finds that the affidavit sufficiently established

probable cause to support the search warrant for the iPhone.

       Finally, as to all of the warrants discussed above, this Court agrees with the

R&R’s conclusion that even if the warrant applications did lack probable cause, the

evidence from the searches would nevertheless be admissible under the good-faith

exception to the exclusionary rule. Here, the searches of Gaye’s vehicles, residence,


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person, and iPhone were all authorized by warrants issued by a detached and neutral

magistrate judge. Those warrants were supported by an affidavit that recounts a lengthy

and detailed investigation. Gaye offers no legal arguments or factual allegations to

support his contention that the warrants were so facially deficient that it was objectively

unreasonable for the executing officers to rely on them. Phillips, 88 F.3d at 586. In sum,

the Court will overrule Gaye’s objections to the R&R’s recommendation to deny Gaye’s

motion to suppress evidence from searches of Gaye’s vehicles, residence, person, and

iPhone. The Court will deny the motion.


       B.     Motion to Suppress Evidence Gathered Via GPS Tracking Device
              (Docket No. 408)

       Gaye challenges two search warrants authorizing law enforcement officers to

attach GPS tracking devices to the 1993 Tahoe and 2003 Grand Prix. (Mot. to Suppress

Automobile Tracking Evidence, Mar. 16, 2015, Docket No. 408.) He now objects to the

R&R’s recommendation to deny his motion to suppress the GPS tracking information.

(Objections at 2.)

       Attaching a tracking device to a car and using that device to monitor the target’s

movements constitutes a search under the Fourth Amendment, and therefore requires the

government to obtain a search warrant in order to legally monitor a person’s activities via

tracking device. See United States v. Jones, 132 S. Ct. 945, 948-49 (2012); see also Fed.

R. Crim. P. 41(e)(2)(C) (“A tracking-device warrant must identify the person or property

to be tracked, designate the magistrate judge to whom it must be returned, and specify a




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reasonable length of time that the device may be used. The time must not exceed 45 days

from the date the warrant was issued.”).

      On July 10, 2013, the Magistrate Judge approved the initial warrants for tracking

devices to be attached to the two vehicles and monitored for a period of 45 days.

(Government Ex. 6 (“2003 Grand Prix Warrant & Appl.”) at SW_460_DOC_00000001-

SW_460_DOC_00000019; Government Ex. 7 (“1993 Tahoe Warrant & Appl.”) at

SW_459_DOC_00000001-SW_459_DOC_00000019.)                    In the application for the

warrants, the government provided details regarding the ongoing alleged check fraud

scheme, explained Gaye’s role in the scheme as check manufacturer, tied Gaye to the two

vehicles, and articulated how the vehicles were used in the scheme. (See, e.g., 1993

Tahoe Warrant & Appl. at SW_459_DOC_00000010-SW_459_DOC_00000018.) The

government also explained that the automobile tracking device was necessary because it

could be used to provide valuable information about the comings and goings of the

alleged co-conspirators, and could also provide information helpful to locating financial

documents. (Id.)

      On August 23, 2013, these warrants were extended to provide the government

with an additional 45 days to monitor Gaye’s activities using the tracking devices.

(Government     Ex.     19     at   SW_460_DOC_00000020-SW_460_DOC_00000035;

Government Ex. 20 at SW_459_DOC_00000020-SW_459_DOC_00000035.)                        “The

court may, for good cause, grant one or more extensions for a reasonable period not to

exceed 45 days each.”        Fed. R. Crim. P. 41(e)(2)(C).     To show good cause, the

government indicated in its application for an extension that it had monitored and tracked


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the subject vehicles going to and from different banks and to the residences of alleged

participants in the counterfeit check writing scheme.

         Based on the information contained in the initial warrant applications and the

extension applications, the Court concludes that the warrants were supported by probable

cause.       Moreover, the government benefits from the good-faith exception to the

exclusionary rule. Phillips, 88 F.3d at 586. Here again, Gaye offers no support for his

contention that the warrants were facially invalid and that reliance on them was

consequently unreasonable. The Court will overrule Gaye’s objections to the R&R’s

recommendation to deny this suppression motion and, consequently, the Court will deny

the motion.


         C.     Motion to Suppress Identification Evidence (Docket No. 532)

         Gaye also seeks to suppress the identifications made of him by Jeffrey Gbor,

Felisha Hassim, Johnson Sayonkon, Kaela Lewis, Confidential Informant (“CI”) 13-233,

CI 12-1446, and David Remme, arguing that suggestive procedures were used to obtain

each identification.2 (Mot. to Suppress Identification Evidence, Mar. 20, 3015, Docket

No. 532; see also Gaye Mem. for Suppression of Identification Evidence, May 22, 2015,




         2
         As the R&R notes, to the extent the motion to suppress identification evidence, or the
subsequent hearing, discussed the identifications of Gaye by Adolphus Cornormia and Kezia
Walker, Gaye has since indicated that he does not challenge Walker’s identification and the
prosecution has affirmatively stated that it will not call Cornormia. (R&R at 25 n.9.) The R&R
consequently recommends that Gaye’s motion to suppress identification evidence be denied, to
the extent it relates to these two witnesses. (Id.) Gaye does not appear to object to this
recommendation. As a result, the Court will deny the motion as to these witnesses.



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Docket No. 615.) Gaye now objects to the R&R’s recommendation to deny this motion.

(Objections at 2-3.)

       As the Supreme Court has stated, “convictions based on eyewitness identification

at trial following a pretrial identification by photograph will be set aside on that ground

only if the photographic identification procedure was so impermissibly suggestive as to

give rise to a very substantial likelihood of irreparable misidentification.” Simmons v.

United States, 390 U.S. 377, 384 (1968). When a defendant raises such a claim, the

Court must first “analyze whether the pre-trial identification procedure was suggestive

and unnecessary.” United States v. Omar, 786 F.3d 1104, 1108 (8th Cir. 2015). If it was,

the Court next asks “whether the identification technique created a substantial likelihood

of misidentification.” Id. (internal quotation marks omitted).


              1.       Photobook Identifications

       Gaye objects to the R&R’s conclusion that identifications made by Gbor, Hassim,

Sayonkon, Lewis, and CI 13-2333 using a photobook were not impermissibly suggestive.

(Objections at 2.) Gaye equates the photobook to a single-photo display, which was

deemed impermissibly suggestive in Ruff v. Wyrick, 709 F.2d 1219, 1220 n.2 (8th Cir.

1983) (“We agree that the single photographic display is unnecessarily suggestive,

especially in a case such as this one in which the witness has independently identified the

perpetrator.”); see also id. at 1220 (affirming the district court’s determination, however,

       3
          Gaye also asserts that both CI 12-1446 and Remme made identifications using some
sort of photobook. (Objections at 2.) It appears, however, that neither CI 12-1446 nor Remme
made identifications using a photobook. (See R&R at 18-25, 30, 32-35.) Also, although in this
objection Gaye uses the term “CI 14-1446,” the Court assumes Gaye is referring to CI 12-1446.


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that while the single-photograph identification was impermissibly suggestive, there was

not a “substantial likelihood of misidentification”). Gaye also objects to the R&R’s

determination that since no emergency required using an identification method other than

six-pack photo spreads, using the photobook was unnecessary. Gaye explicitly states that

he makes his objection notwithstanding Eighth Circuit precedent. See Omar, 786 F.3d at

1108-10 (concluding that showing a witness a series of one-person photographs was not

analogous to an impermissibly suggestive single-photo display).

      Here again, Gaye’s objections are short and generic, and merely restate, in a

conclusory fashion, arguments made to and rejected by the Magistrate Judge.

(Objections at 2.) As such, Gaye’s objections on this motion are only entitled to clear

error review. Walker, 216 F. Supp. 2d at 292. Irrespective of which standard the Court

applies, however, the Court will overrule Gaye’s objections as to the photobook

identification method. The two photobooks at issue – one with 71-90 large photos,

displayed with one photo to a page, used with Gbor, Hassim, Sayonkon, and Lewis;

another with 36 photos, displayed one to a page, used with CI 13-233, (Government

Exs. 21, 34) – were not impermissibly suggestive, especially given that no suggestive

questions or statements were made during the procedure. This procedure is largely

identical to the procedure used in Omar: showing witnesses a series of single-person

headshots and asking them if they know any of the people in the headshots. Omar,

785 F.3d at 1108-10.

      The Eighth Circuit held that this procedure was not impermissibly suggestive and

was not analogous to the single-photo display in Ruff. Id. Although Gaye cites Ruff, and


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asserts his objection despite the decision in Omar, he offers no explanation as to why this

case is different than Omar, or the same as Ruff. In sum, under either de novo or clear

error review, the Court concludes the photobook identification method used with Gbor,

Hassim, Sayonkon, Lewis, and CI 13-233 was not impermissibly suggestive and,

consequently, will overrule Gaye’s objection to the R&R’s recommendation to dismiss

the motion to suppress those identifications.


              2.     Identifications Made Using a Facebook Photo and Three ATM
                     Photos

       Gaye also objects to the R&R’s recommendation to deny his motion to suppress

identifications of him made by CI 13-233 from one photo from the social media website

Facebook and from three ATM photos. (Objections at 2-3.) He argues that because there

was little evidence of any interaction between CI 13-233 and Gaye, the identification was

not reliable and the procedure created a substantial likelihood of misidentification.

       To the extent Gaye might argue that the CI 13-233 identification procedure using

Facebook and ATM photos was suggestive, the record shows otherwise.                     Law

enforcement officials interviewed CI 13-233 four times between November 2012 and

February 2013. In the final two interviews, in January and February 2013, government

agents merely asked CI 13-233 whether he recognized the person in the Facebook and

ATM photos and – each time – CI 13-233 correctly identified Gaye. (Tr. of Pretrial

Mots. Hr’g (“May 6 Hr’g”) at 94-95, June 16, 2015, Docket No. 634; Tr. of Pretrial

Mots. Hr’g (“May 13 Hr’g”) at 55-62, June 29, 2015, Docket No. 652.). The Eighth

Circuit has concluded that this sort of single-photo identification procedure, when the


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agent only asks whether the witness can identify the person or people in the photo, is not

impermissibly suggestive. United States v. Bissonette, 164 F.3d 1143, 1145-46 (8th Cir.

1999). Similarly, the Eighth Circuit has approved showing a witness a surveillance photo

of a target. United States v. Casper, 679 F.2d 136, 137 (8th Cir. 1982). Gaye does not

distinguish this case from Bissonette and Casper and does not explain what aspect of this

procedure was impermissibly suggestive. The Court concludes that it was not.

      In addition, Gaye does not offer any support for his argument that there was little

or no evidence of personal interaction between CI 13-233 and Gaye. On the contrary,

CI 13-233 told the government about his frequent interactions with Gaye, and law

enforcement officials observed him interacting with Gaye on multiple occasions. (May 6

Hr’g at 94-95; May 13 Hr’g at 75.) Thus, the record shows that CI 13-233 and Gaye did

have a close enough relationship to make CI 13-233’s identification reliable and to

eliminate any risk of misidentification; Gaye offers no evidence or substantive arguments

to the contrary. Consequently, the Court will overrule Gaye’s objection to the R&R’s

recommendation to dismiss this aspect of the suppression motion.


             3.      Identifications Made Using a Single Driver’s License Photo and
                     a Twitter Photo of Several Persons

      Gaye next objects to the R&R’s conclusion that CI 12-1446’s identification of

Gaye from a driver’s license photo and Twitter photo were not impermissibly suggestive.

(Objections at 3.)      Gaye implies that during this procedure, the government

impermissibly suggested to CI 12-1446 that someone was to be identified in the picture,

irrespective of the person-to-be-identified’s name. But the record does not support his


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argument. Instead, the record shows that CI 12-1446 was shown both photos and asked,

generally, whether he knew the person or people in the photo. (May 13 Hr’g at 21-29.)

No suggestion was made that CI 12-1446 should know someone in the photos, or that he

needed to make some sort of identification. As discussed above, Eighth Circuit precedent

has found that this sort of identification procedure is not impermissibly suggestive.

Bissonette, 164 F.3d at 1145-46. Moreover, Gaye offers no reason why the identification

would be unreliable or the procedure would create a risk of misidentification, given

CI 12-1446’s statements about his relationship with Gaye, his ability to identify Gaye’s

vehicle, and the fact that he frequently traveled to Gaye’s house to obtain counterfeit

checks. (May 13 Hr’g at 22.) Consequently, the Court will overrule Gaye’s objection as

to this aspect of this suppression motion.


              4.     Additional Driver’s License Identification

       Finally, Gaye objects to the R&R’s conclusion that Remme’s identification of him

was not obtained pursuant to suggestive means and was reliable. (Objections at 3.) For

the reasons discussed above, the Court will also overrule this objection.        Showing

Remme a single photo, and asking an open-ended question, is not unduly suggestive.

Bissonette, 164 F.3d at 1145-46. Moreover, even if it were, the record shows that

Remme had a relationship with Gaye, and that Gaye was at Remme’s house on multiple

occasions. (May 6 Hr’g at 30-32.) Consequently, Remme would be able to identify him.

Thus, nothing in the record indicates that Remme’s identification was unreliable or that

the procedure created a substantial risk of misidentification. As a result, the Court will



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also overrule this objection and will deny Gaye’s entire motion to suppress identification

evidence.


III.    MOTION TO SUPPRESS STATEMENTS (Docket No. 399)

        Gaye filed a motion to suppress the statements he made to law enforcement when

they executed various search warrants on September 11, 2013.            (Mot. to Suppress

Statements, Mar. 16, 2015, Docket No. 399.) The R&R recommended granting that

motion, concluding that Gaye was in custody at the time he made the statements and did

not receive the necessary warning under Miranda v. Arizona, 384 U.S. 436, 444 (1966).

(R&R at 3-9.) Since then, in a July 9, 2015 letter, the prosecution has affirmatively stated

that it has decided not to use Gaye’s statement at trial. (Prosecution Letter Regarding

Gaye’s Mot. to Suppress Statement, Aug. 6, 2015, Docket No. 678.) As a result, the

Court will modify the R&R as to this motion and deny the motion as moot.


                                         ORDER

        Based on the foregoing, and all the files, records, and proceedings herein, the

Court OVERRULES Gaye’s objections [Docket No. 659], and ADOPTS in part and

MODIFIES in part the Report and Recommendation of the Magistrate Judge [Docket

No. 629]. IT IS HEREBY ORDERED that:

        1.    Gaye’s motion to suppress statements [Docket No. 399] is DENIED as

moot.

        2.    Gaye’s motion to suppress search and seizure evidence [Docket No. 400] is

DENIED.


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      3.     Gaye’s motion to suppress evidence gathered by means of automobile

tracking devices [Docket No. 408] is DENIED.

      4.     To the extent Gaye’s motion to suppress identification evidence [Docket

No. 532] seeks to suppress identifications made by Jeffrey Gbor, Felisha Hassim,

Johnson Sayonkon, Kaela Lewis, David Remme, CI 13-223, and CI 12-1446, the motion

is DENIED. To the extent Gaye’s motion seeks to suppress identifications made by

Kezia Walker and Adolphus Cornormia, the motion is DENIED as moot.

      5.     Gaye’s motions to suppress electronic surveillance [Docket No. 398], to

suppress fruits of warrantless garbage searches [Docket No. 401], and to suppress camera

surveillance [Docket No. 402], are DENIED as moot.


DATED: December 14, 2015                          ____s/                     ____
at Minneapolis, Minnesota.                              JOHN R. TUNHEIM
                                                            Chief Judge
                                                     United States District Court




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